                           Case 18-10512-KBO             Doc 3393        Filed 06/16/22         Page 1 of 4




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


             In re:                                                        Chapter 11

             Zohar III, Corp., et al.,1                                    Case No. 18-10512 (KBO)

                             Debtors.                                      Jointly Administered


                          NOTICE OF AMENDED2 AGENDA OF MATTERS SCHEDULED
                              FOR HEARING ON JUNE 21, 2022 AT 10:00 A.M. (ET)


                       THIS HEARING WILL BE CONDUCTED IN-PERSON AND OVER ZOOM3
                      AND REQUIRES ALL ZOOM PARTICIPANTS TO REGISTER IN ADVANCE.
                                COURTCALL WILL NOT BE USED TO DIAL IN.

                             Please use the following link to register for this hearing:
         https://debuscourts.zoomgov.com/meeting/register/vJItd-yhrT0uHgMtTyzzeoB0xqLeEZMUoHI

          AFTER REGISTERING YOUR APPEARANCE BY ZOOM, YOU WILL RECEIVE A
       CONFIRMATION EMAIL CONTAINING INFORMATION ABOUT JOINING THE HEARING


         RESOLVED MATTER

         1.           Debtors' Motion for Entry of an Order Authorizing the Filing of Exhibit to Proposed
                      Consensual Order in Furtherance of the Debtors Proposed Plan Regarding Paragraph 18
                      Claims Under the Settlement Agreement Under Seal [D.I. 3343; 5/17/22]

                      Related Documents:




         1
           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows: Zohar
         III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited (9261), Zohar
         II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is c/o FTI Consulting, Inc.,
         1166 Avenue of the Americas, 15th Floor, New York, NY 10036.
         2
             All amendments appear in bold.
         3
           At the direction of the Court, attendance by Zoom will be permitted under the following circumstances: (1) a party
         or person intends to make only limited argument; (2) a party or person is interested in monitoring the Court’s
         proceedings; (3) an attorney or witness who would otherwise be required to attend in person has a good faith health-
         related reason, and such attorney or witness has obtained permission to participate remotely from the Court by
         contacting Judge Owen’s courtroom deputy; or (4) other extenuating circumstances, as determined by Judge Owens.



29464619.1
                   Case 18-10512-KBO            Doc 3393     Filed 06/16/22    Page 2 of 4




              A.        Certification of Counsel Regarding Consensual Order in Furtherance of the
                        Debtors' Proposed Plan Regarding Paragraph 18 Claims Under the Settlement
                        Agreement [(SEALED) D.I. 3324; 5/12/22; (REDACTED) D.I. 3342; 5/17/22]

              B.        Certificate of No Objection [D.I. 3361; 5/26/22]

              C.        Order Authorizing the Filing of Exhibit to Proposed Consensual Order in
                        Furtherance of the Debtors Proposed Plan Regarding Paragraph 18 Claims Under
                        the Settlement Agreement Under Seal [D.I. 3362; 5/31/22]

              Response Deadline:                     May 25, 2022 at 4:00 p.m. (ET)

              Responses Received:                    None

              Status:          An order has been entered by the Court. No hearing is required.

         MATTER GOING FORWARD

         2.   Third Amended Joint Plan of Liquidation Under Chapter 11 of the Bankruptcy Code for
              Zohar III, Corp. and Its Affiliated Debtors [D.I. 3380; 6/15/22]

              Related Documents:

              A.        Disclosure Statement for Second Amended Joint Plan of Liquidation Under
                        Chapter 11 of the Bankruptcy Code for Zohar III, Corp. and Its Affiliated Debtors
                        [D.I. 3235; 4/6/22]

              B.        Order (I) Approving the Disclosure Statement; (II) Approving Solicitation and
                        Voting Procedures, Including (A) Fixing the Record Date, (B) Approving the
                        Solicitation Packages and Procedures for Distribution, (C) Approving the Form of
                        Ballots and Establishing Procedures for Voting, and (D) Approving Procedures for
                        Vote Tabulation; (III) Scheduling a Confirmation Hearing and Establishing Notice
                        and Objection Procedures; and (IV) Granting Related Relief [D.I. 3239; 4/6/22]

              C.        Notice of Order (I) Approving the Disclosure Statement; (II) Approving
                        Solicitation and Voting Procedures, Including (A) Fixing the Record Date, (B)
                        Approving the Solicitation Packages and Procedures for Distribution, (C)
                        Approving the Form of Ballots and Establishing Procedures for Voting, and (D)
                        Approving Procedures for Vote Tabulation; (III) Scheduling a Confirmation
                        Hearing and Establishing Notice and Objection Procedures; and (IV) Granting
                        Related Relief [D.I. 3247; 4/8/22]

              D.        Plan Supplement to the Second Amended Joint Plan of Liquidation Under Chapter
                        11 of the Bankruptcy Code for Zohar III, Corp. and Its Affiliated Debtors [D.I.
                        3304; 5/6/22]



29464619.1
                                                        2
                  Case 18-10512-KBO       Doc 3393      Filed 06/16/22     Page 3 of 4




             E.    Consensual Order in Furtherance of the Debtors’ Proposed Plan Regarding
                   Paragraph 18 Claims Under the Settlement Agreemetn [(SEALED) D.I. 3363;
                   5/31/22; (REDACTED) D.I. 3364; 5/31/22]

             F.    Notice of Rescheduled Confirmation Hearing [D.I. 3372; 6/8/22]

             G.    Memorandum of Law in Support of Confirmation of Third Amended Joint Plan of
                   Liquidation Under Chapter 11 of the Bankruptcy Code for Zohar III, Corp. and Its
                   Affiliated Debtors [D.I. 3381; 6/16/22]

             H.    Notice of Filing of Proposed Findings of Fact, Conclusions of Law, and Order
                   Confirming Third Amended Joint Plan of Liquidation Under Chapter 11 of the
                   Bankruptcy Code for Zohar III, Corp. and Its Affiliated Debtors [D.I. 3382;
                   6/16/22]

             I.    Declaration of Michael Katzenstein in Support of Confirmation of Third Amended
                   Joint Plan of Liquidation Under Chapter 11 of the Bankruptcy Code for Zohar III,
                   Corp. and Its Affiliated Debtors [D.I. 3383; 6/15/22]

             J.    Declaration of Justin K. Edelson of the Reliable Companies Regarding the
                   Solicitation of Votes and Tabulation of Ballots Cast on Second Amended Joint Plan
                   of Liquidation Under Chapter 11 of the Bankruptcy Code for Zohar III, Corp. and
                   Its Affiliated Debtors, Dated April 6, 2022 [D.I. 3384; 6/15/22]

             K.    Notice of Filing of Blackline of Third Amended Joint Plan of Liquidation Under
                   Chapter 11 of the Bankruptcy Code for Zohar III, Corp. and Its Affiliated Debtors
                   [D.I. 3385; 6/16/22]

             Response Deadline:                 May 13, 2022 at 4:00 p.m. (ET)

             Responses Received:

             L.    The Patriarch Stakeholders’ Objection to Confirmation of the Second Amended
                   Joint Plan of Liquidation Under Chapter 11 of the Bankruptcy Code for Zohar III,
                   Corp. and Its Affiliated Debtors [D.I. 3326; 5/13/22]

             M.    Informal response from the U.S. Trustee

             N.    Informal response from U.S. Bank National Association

             Additional Documents:

             O.    Statement and Joinder of the Zohar III Controlling Class to the Debtors’
                   Memorandum of Law in Support of Confirmation of Third Amended Joint
                   Plan of Liquidation Under Chapter 11 of the Bankruptcy Code for Zohar III,
                   Corp. and Its Affiliated Debtors [D.I. 3387; 6/16/22]


29464619.1
                                                   3
                       Case 18-10512-KBO          Doc 3393     Filed 06/16/22       Page 4 of 4




                  P.        Statement of MBIA Insurance Corporation in Support of Confirmation of
                            Third Amended Joint Plan of Liquidation Under Chapter 11 of the
                            Bankruptcy Code for Zohar III, Corp. and Its Affiliated Debtors [D.I. 3389;
                            6/16/22]

                  Q.        Plan Supplement to the Third Amended Joint Plan of Liquidation Under
                            Chapter 11 of the Bankruptcy Code for Zohar III, Corp. and Its Affiliated
                            Debtors [D.I. 3391; 6/16/22]

                  R.        Notice of Filing of Blackline of Plan Supplement to the Third Amended Joint
                            Plan of Liquidation Under Chapter 11 of the Bankruptcy Code for Zohar III,
                            Corp. and Its Affiliated Debtors [D.I. 3392; 6/16/22]

                  Status:         As reflected in the Debtors’ confirmation brief, Items M and N are
                                  resolved and Item L is partially resolved. This matter is going forward.


             Dated: June 16, 2022                 YOUNG CONAWAY STARGATT & TAYLOR, LLP
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                                                  Robert S. Brady (No. 2847)
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                                                  Counsel to the Debtors and Debtors in Possession




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